            Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 1 of 19




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TERRI M. BOOKER, ESQ.,                      :
                                            :
                        Plaintiff,          :
                                            :
                               v.           :       Civil Action No. 22-cv-00741-CFK
                                            :
CITY OF PHILADELPHIA,                       :
                                            :
                        Defendant.          :



     DEFENDANT, THE CITY OF PHILADELPHIA’S, ANSWER TO PLAINTIFF’S
                        AMENDED COMPLAINT


           Defendant the City of Philadelphia (hereinafter, “Answering Defendant”),

through undersigned counsel, answers Plaintiff’s Amended Complaint as follows:



     I.       Introduction

1.         Denied. After reasonable investigation, Answering Defendant is without

           knowledge or information sufficient to form a belief as to the truth of the

           factual averments contained in this paragraph. The remaining allegations in

           this paragraph constitute legal conclusions to which no response is required.



     II.      Jurisdiction and Venue

2.         Admitted.

3.         Admitted in part. Admitted that this Court has jurisdiction. The remaining

           allegations of this paragraph are denied.


                                                1
              Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 2 of 19




4.          Admitted.

5.          Admitted in part. It is admitted only that Plaintiff filed the said Charge of

            Discrimination. To the extent that the remaining allegations constitute legal

            conclusions no response is required. To the extent that any response is

            required, the remaining allegations are denied.

      III.     Parties

6.          Answering Defendant incorporates by reference its answers to the preceding

            paragraphs, inclusive, as though fully set forth herein.

7.          Denied. After reasonable investigation, Answering Defendant is without

            knowledge or information sufficient to form a belief as to the truth of the

            factual averments contained in this paragraph.

8.          Admitted in part. It is admitted that the City of Philadelphia is a first-class

            municipality and the largest city by population in the Commonwealth of

            Pennsylvania and that Plaintiff was employed by the City of Philadelphia. It

            is denied that the sole duties of the Register of Wills are those identified by

            Plaintiff in this paragraph.

9.          The allegations contained in this paragraph constitute conclusions of law to

            which no response is required. To the extent a response is required, denied.



      IV.      Factual Background

10.         Answering Defendant incorporates by reference its answers to the preceding

            paragraphs, inclusive, as though fully set forth herein.




                                                2
             Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 3 of 19




11.        Admitted in part. It is admitted only that Plaintiff worked as a Clerical Aide

           for the Register of Wills beginning in 2014. It is denied Plaintiff ever held the

           title of Assistant Solicitor or that Plaintiff was subjected to an “unlawful

           termination.” Answering Defendant denies that it or any of its servants,

           agents, and/or employees ever terminated Plaintiff in a manner inconsistent

           with the prevailing laws and regulations governing City of Philadelphia

           employees.

12.        Denied as stated. It is admitted only that, for part of her employment,

           Plaintiff was supervised by Sharon Wilson, Esq. After reasonable

           investigation, Answering Defendant is without knowledge or information

           sufficient to form a belief as to the truth of the remaining averments

           contained in this paragraph.

13.        Denied.



      V.      Disability Discrimination/FMLA Violations

14.        Answering Defendant incorporates by reference its answers to the preceding

           paragraphs, inclusive, as though fully set forth herein.

15.        Denied. After reasonable investigation, Answering Defendant is without

           knowledge or information sufficient to form a belief as to the truth of the

           averments contained in this paragraph.




                                               3
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 4 of 19




16.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

17.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

18.   Denied as stated. It is admitted only that Plaintiff made use of her accrued

      sick leave and paid time off for a variety of reasons during her employment.

      It is specifically denied that Answering Defendant or its agents, servants

      and/or employees ever unlawfully terminated Plaintiff.

19.   Denied as stated. It is admitted only that Plaintiff claimed to have received a

      test result indicating she was positive for the COVID-19 virus in 2021. After

      reasonable investigation, Answering Defendant is without knowledge or

      information sufficient to form a belief as to the truth of the averments

      contained in this paragraph. By way of further response, Plaintiff fails to

      identify to whom she is referring as “Defendant’s management” and thus,

      Answering Defendant is unable to admit to any specific allegation regarding

      same.

20.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

21.   Denied.




                                          4
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 5 of 19




22.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

23.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

24.   Denied as stated. It is admitted only that Plaintiff was instructed on how to

      complete her job duties and informed of the ways in which she was not

      performing up to expectations of the employees of the Register of Wills. After

      reasonable investigation, Answering Defendant is without knowledge or

      information sufficient to form a belief as to the truth of the remaining

      averments contained in this paragraph.

25.   Denied as stated. Answering Defendant is not currently aware of any

      complaints filed by Plaintiff with any human resources office associated with

      the Register of Wills. After reasonable investigation, Answering Defendant is

      without knowledge or information sufficient to form a belief as to the truth of

      the remaining averments contained in this paragraph.

26.   Denied. It is specifically denied that any act or failure to act on the part of

      Answering Defendant or its servants, employees and/or agents caused

      Plaintiff to seek or obtain any medical treatment as alleged in this

      paragraph. All remaining averments of this paragraph are denied. To the




                                           5
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 6 of 19




      extent that the remaining allegations in this paragraph constitute legal

      conclusions to which no response is required.

27.   Denied as stated. It is admitted only that a medical professional completed

      documentation directed to the United States Department of Labor, Wage and

      Hour Division regarding FMLA leave in June 2021. After reasonable

      investigation, Answering Defendant is without knowledge or information

      sufficient to form a belief as to the truth of the remaining averments

      contained in this paragraph.

28.   Denied as stated. It is admitted only that Plaintiff sought medical care on

      June 28, 2021. After reasonable investigation, Answering Defendant is

      without knowledge or information sufficient to form a belief as to the truth of

      the remaining averments contained in this paragraph.

29.   Denied as stated. It is admitted only that Plaintiff sent a text message to

      Sharon Wilson on June 28, 2021. After reasonable investigation, Answering

      Defendant is without knowledge or information sufficient to form a belief as

      to the truth of the remaining factual averments contained in this paragraph.

30.   Denied as stated. It is admitted only that Plaintiff sent a text to Sharon

      Wilson on June 28, 2021, and that Wilson sent a responsive email, which is

      provided in part by Plaintiff in her Amended Complaint. After reasonable

      investigation, Answering Defendant is without knowledge or information

      sufficient to form a belief as to the truth of the remaining averments

      contained in this paragraph.




                                          6
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 7 of 19




31.   Denied. Answering Defendant denies that it or any of its employees, servants

      and/or agents ever “berated” Plaintiff at any time as alleged in the Amended

      Complaint. To the extent that the remaining allegations in this paragraph

      constitute legal conclusions, no response is required. To the extent a response

      is required, denied.

32.   Admitted in part. It is admitted only that Plaintiff sent an email on June 28,

      2021, stating that she was in the hospital and did not know when she would

      return to work.

33.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

34.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

35.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

36.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

37.   Denied as stated. It is admitted only that Plaintiff was notified via letter sent

      by FedEx that she was to be separated from her employment for job




                                          7
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 8 of 19




      abandonment. After reasonable investigation, Answering Defendant is

      without knowledge or information sufficient to form a belief as to the truth of

      the remaining averments contained in this paragraph and they are therefore

      denied.

38.   Admitted in part. It is admitted only that Plaintiff forwarded a letter from

      Farzana Sayani, MD on or about July 6, 2021. It is further admitted that

      Plaintiff was separated from her employment for job abandonment. It is

      denied that Answering Defendant ever failed to accommodate Plaintiff in any

      manner. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      remaining averments contained in this paragraph and they are therefore

      denied. To the extent any of the allegations call for a legal conclusion, no

      response is required.

39.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph.

40.   The allegations contained in this paragraph constitute conclusions of law to

      which no response is required. To the extent a response is required, denied.

41.   Denied. The averments of this paragraph call for a legal conclusion to which

      no response is required. To the extent a response may be required, denied.

42.   Admitted.




                                          8
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 9 of 19




43.   (a)-(d) Denied as stated. It is admitted only that Plaintiff’s work was subject

      to review and oversight. All other averments of this paragraph are denied.

44.   Denied as stated. It is admitted only that Plaintiff was officially separated

      from employment with the City of Philadelphia for job abandonment on or

      about July 6, 2021. The remaining averments of this paragraph call for a

      legal conclusion to which no response is required.

45.   The averments of this paragraph call for a legal conclusion to which no

      response is required. To the extent a response may be required, denied.



                                       COUNT I

46.   Answering Defendant incorporates by reference its answers to the preceding

      paragraphs, inclusive, as though fully set forth herein.

47.   Denied as stated. It is admitted only that Plaintiff submitted a request for

      FMLA leave in June 2021. The remaining averments of this paragraph call

      for a legal conclusion to which no response is required. To the extent a

      response may be required, denied.

48.   Denied as stated. Plaintiff frequently failed to inform the appropriate

      members of the Register of Wills regarding her inability to complete the

      essential functions of her job and sought time off for a variety of non-medical

      reasons. It is admitted only that Plaintiff filed a request for FMLA

      intermittent leave in June 2021. The remaining averments in this paragraph

      are denied.




                                          9
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 10 of 19




49.   Denied as stated. Plaintiff frequently failed to perform the essential function

      of her role with the Register of Wills. It is admitted only that Plaintiff filed a

      request for FMLA intermittent leave in June 2021. The remaining

      averments of this paragraph call for a legal conclusion to which no response

      is required. To the extent a response may be required, denied.

50.   Denied as stated. It is admitted only that Answering Defendant permitted

      Plaintiff, at all relevant times, to make use of accrued sick time, vacation or

      other paid time off as permitted under Defendant’s policies. After reasonable

      investigation, Answering Defendant is without knowledge or information

      sufficient to form a belief as to the truth of the remaining averments

      contained in this paragraph and they are therefore denied. The remaining

      averments of this paragraph call for a legal conclusion to which no response

      is required. To the extent a response may be required, denied.

51.   Denied. It is specifically denied that Plaintiff was subjected to animosity or

      was demeaned in any manner. The remaining averments of this paragraph

      call for a legal conclusion to which no response is required.

52.   Denied. After reasonable investigation, Answering Defendant is without

      knowledge or information sufficient to form a belief as to the truth of the

      averments contained in this paragraph and they are therefore denied.

53.   Denied as stated. Plaintiff was subject to oversight and review of her work

      and was subject to the same review process and potential discipline as other




                                           10
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 11 of 19




      individuals within the Register of Wills. The remaining averments of this

      paragraph call for a legal conclusion to which no response is required.

54.   Denied. Plaintiff was terminated for job abandonment on or about July 6,

      2021, following a lengthy period in which she failed to perform the essential

      functions of her employment. The remaining averments of this paragraph call

      for a legal conclusion to which no response is required.

55.   Denied as stated. The letter to Plaintiff of July 2, 2021, notes that she failed

      to communicate with her direct supervisor for four (4) working days, did not

      appear for work, and was subject to termination for job abandonment.

      Plaintiff was subsequently informed on July 6, 2021, that she was separated

      from the Register of Wills for job abandonment.

56.   Denied. Plaintiff failed to provide any such letter until July 6, 2021. It is

      specifically denied that Plaintiff kept her supervisor, Sharon Wilson, aware of

      her condition between June 29 and July 2, 2021. After reasonable

      investigation, Answering Defendant is without knowledge or information

      sufficient to form a belief as to the truth of the remaining averments

      contained in this paragraph

57.   Denied. Answering Defendant received no communication from Plaintiff

      between June 29 and July 2, 2021, indicating that she planned to return to

      work. The remaining averments of this paragraph call for a legal conclusion

      to which no response is required.




                                          11
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 12 of 19




58.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.

59.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.



                                      COUNT II

60.   Answering Defendant incorporates by reference its answers to the preceding

      paragraphs, inclusive, as though fully set forth herein.

61.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.

62.   After reasonable investigation, Answering Defendant is without knowledge or

      information sufficient to form a belief as to the truth of the averments

      contained in this paragraph. All allegations are therefore denied.

63.   After reasonable investigation, Answering Defendant is without knowledge or

      information sufficient to form a belief as to the truth of the averments

      contained in this paragraph. All allegations are therefore denied.

64.   Admitted.




                                         12
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 13 of 19




65.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.

66.   Denied as stated. Plaintiff was separated for job abandonment. After

      reasonable investigation, Answering Defendant is without knowledge or

      information sufficient to form a belief as to the truth of the remaining

      averments contained in this paragraph. The remaining allegations are

      therefore denied.

67.   Denied. Answering Defendant specifically denies that Plaintiff’s prior request

      for FMLA leave bore any relationship to her separation for job abandonment.

      Answering Defendant further denies that Plaintiff was subjected to any

      negative comments regarding her request for FMLA leave. The remaining

      allegations contained in this paragraph constitute conclusions of law and,

      therefore, require no response. To the extent a response is required, denied.

68.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.



                                      COUNT III

69.   Answering Defendant incorporates by reference its answers to the preceding

      paragraphs, inclusive, as though fully set forth herein.




                                         13
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 14 of 19




70.   Denied. Answering Defendant specifically denies that Plaintiff was ever

      subjected to any verbal reprimands or derogatory treatment due to her race.

      The remaining allegations contained in this paragraph constitute conclusions

      of law and, therefore, require no response. To the extent a response is

      required, denied.

71.   Denied.

72.   Denied that Plaintiff’s separation from employment was done for any

      illegitimate or pretextual reason. Plaintiff was separated on or about July 6,

      2021, for job abandonment.

73.   Answering Defendant has no knowledge or means of ascertaining the truth or

      falsity of the allegations regarding Plaintiff’s internal belief of the reason for

      her separation and therefore the allegations are denied. The remaining

      allegations contained in this paragraph constitute conclusions of law and,

      therefore, require no response. To the extent a response is required, denied.

74.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.



                                       COUNT IV

75.   Answering Defendant incorporates by reference its answers to the preceding

      paragraphs, inclusive, as though fully set forth herein.




                                           14
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 15 of 19




76.   Denied. Answering Defendant specifically denies that Plaintiff was ever

      subjected to any verbal reprimands or derogatory treatment due to her race.

      The remaining allegations contained in this paragraph constitute conclusions

      of law and, therefore, require no response. To the extent a response is

      required, denied.

77.   Denied.

78.   Denied that Plaintiff’s separation from employment was done for any

      illegitimate or pretextual reason. Plaintiff was separated on or about July 6,

      2021, for job abandonment.

79.   Answering Defendant has no knowledge or means of ascertaining the truth or

      falsity of the allegations regarding Plaintiff’s internal belief of the reason for

      her separation and therefore the allegations are denied.

80.   The allegations contained in this paragraph constitute conclusions of law

      and, therefore, require no response. To the extent a response is required,

      denied.

                                        COUNT V

81.   Answering Defendant incorporates by reference its answers to the preceding

      paragraphs, inclusive, as though fully set forth herein.

82.   Denied.

83.   Denied.

84.   Denied. Plaintiff was separated from employment on or about July 6, 2021,

      for job abandonment.




                                           15
          Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 16 of 19




85.      Answering Defendant has no knowledge or means of ascertaining the truth or

         falsity of the allegations regarding Plaintiff’s internal belief of the reason for

         her separation and therefore the allegations are denied. The remaining

         allegations contained in this paragraph constitute conclusions of law and,

         therefore, require no response. To the extent a response is required, denied.

86.      The allegations contained in this paragraph constitute conclusions of law

         and, therefore, require no response. To the extent a response is required,

         denied.



                           AS TO THE PRAYER FOR RELIEF
      A. Denied.

      B. Denied.

      C. Denied.

      D. Denied.

      E. Denied.

      F. Answering Defendant does not dispute Plaintiff’s right to a jury trial.


                                      JURY DEMAND

                Answering Defendant demands a jury trial in this action.



                               AFFIRMATIVE DEFENSES

                            FIRST AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a claim upon which relief can be granted.

                           SECOND AFFIRMATIVE DEFENSE


                                              16
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 17 of 19




      Answering Defendant asserts all the defenses, immunities, and limitations of

damages available to them under the “Political Subdivision Tort Claims Act” and

aver that Plaintiff’s remedies are limited exclusively thereto. Act of Oct 5, 1980, No.

142, P.L. 693, 42 Pa. C.S.A. § 8541 et seq.

                         THIRD AFFIRMATIVE DEFENSE

      Defendant’s actions or omissions did not constitute a violation, willful or

otherwise, of Americans with Disabilities Act.

                        FOURTH AFFIRMATIVE DEFENSE

      Defendant’s actions or omissions did not constitute a violation, willful or

otherwise, of the Family and Medical Leave Act.

                         FIFTH AFFIRMATIVE DEFENSE

      Defendant’s actions or omissions did not constitute a violation, willful or

otherwise, of Title VII of the Civil Rights Act of 1964.

                         SIXTH AFFIRMATIVE DEFENSE

      Defendant’s actions or omissions did not constitute a violation, willful or

otherwise, of 42 U.S.C. §1981.




                                           17
       Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 18 of 19




      WHEREFORE, Answering Defendant denies that it is liable on the cause of

actions declared herein, and demand judgment in its favor plus interest and costs.



                                                     Respectfully submitted,

                                                     CITY OF PHILADELPHIA
                                                     LAW DEPARTMENT

Date: June 13, 2022                            BY:     s/ Michael J. Sheehan
                                                     Michael J. Sheehan
                                                     Assistant City Solicitor
                                                     Pa. Attorney ID No. 321440
                                                     City of Philadelphia Law Dept.
                                                     1515 Arch St., 16th Fl.
                                                     Philadelphia, PA 19102
                                                     (215) 683-5362
                                                     michael.sheehan@phila.gov




                                         18
        Case 2:22-cv-00741-CFK Document 8 Filed 06/14/22 Page 19 of 19




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TERRI M. BOOKER, ESQ.,                  :
                                        :
                    Plaintiff,          :
                                        :
                           v.           :        Civil Action No. 22-cv-00741-CFK
                                        :
CITY OF PHILADELPHIA,                   :
                                        :
                    Defendant.          :



                            CERTIFICATE OF SERVICE


      I, Michael J. Sheehan, hereby certify that on this date I caused the foregoing

Defendant the City of Philadelphia’s Answer to Plaintiff’s Amended Complaint to be

filed electronically, where it is available for viewing and downloading.


                                                        Respectfully submitted,

                                                        CITY OF PHILADELPHIA
                                                        LAW DEPARTMENT

Date: June 13, 2022                               BY:    s/ Michael J. Sheehan
                                                        Michael J. Sheehan
                                                        Assistant City Solicitor




                                            19
